Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 1 of 9 Page ID #:2027

                                                                                            JS-6

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

   Case No. LA CV 20-11444-DOC-MAR                                       Date: June 9, 2022

   Title: R. BRIAN TERENZINI v. GOODRX HOLDINGS, INC. ET AL.


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                  Karlen Dubon                                  Not Present
                   Courtroom                                   Court Reporter
                      Clerk

         ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
               PLAINTIFF:                                  DEFENDANT:
              None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): ORDER GRANTING COUNTER-
                                    DEFENDANT’S MOTION TO
                                    DISMISS [105]

          Before the Court is Defendants GoodRx Holdings, Inc. (“GoodRx”), Douglas
   Hirsch, Trevor Bezdek, Karsten Voermann, Christopher Adams, Julie Bradley, Dipanjan
   Deb, Adam Karol, Jacqueline Kosecoff, Stephen LeSieur, Gregory Mondre, and Agnes
   Rey-Giraud’s (collectively the “Individual Defendants,” and with GoodRx “GoodRx
   Defendants”) Motion to Dismiss (“Motion” or “Mot.”) (Dkt. 105). The Court finds this
   matter appropriate for resolution without oral argument. See Fed. R. Civ. P. 78; C.D. Cal.
   R. 7-15. Having reviewed the moving papers submitted by the parties, the Court
   GRANTS the Motion and VACATES the hearing scheduled for June 10, 2022.

   I.    Background

         A.     Facts

        This case is a federal securities class action brought on behalf of purchasers of
   GoodRx Class A common stock between September 23, 2020 and May 10, 2021. See
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 2 of 9 Page ID #:2028

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                        Date: June 9, 2022

                                                                                       Page 2

   generally First Consolidated Amended Complaint (“FAC”) (Dkt. 100). GoodRx is a
   healthcare technology platform that provides consumers with price information and
   discounts on prescription drugs. Id. ¶ 2. The company generates money primarily from
   fees it receives from Pharmacy Benefit Managers who negotiate drug discounts. Id. ¶ 3.
   GoodRx launched an initial public offering (“IPO”) on August 28, 2020. Id. ¶ 4. The IPO
   launched well above its per share offering price, raising $1 billion in gross proceeds. Id.

           In connection with the IPO, GoodRx filed a Registration Statement and Prospectus
   with the Securities and Exchange Commission (“SEC”), which included representations
   that the company was a “market leader,” was the only “significant direct-to-consumer
   channel” for many Pharmacy Benefit Managers, and had contract provisions in place to
   prevent Pharmacy Benefit Managers from “circumventing our platform [or] redirecting
   volumes outside of our platform.” Id. ¶ 5.

          However, soon after the IPO, Amazon.com, Inc. (“Amazon”) launched a
   competitor prescription drug discount program, PrimeRx. Id. ¶ 9. Amazon’s program
   involved partnering with a company named Inside Rx, of which GoodRx was a founding
   partner. Id. ¶¶ 7, 43. Plaintiffs allege that as a result, Defendants knew about the
   upcoming launch of Amazon’s competitor service at the time of the IPO, but did not
   disclose that information to investors. Id. ¶ 55. GoodRx’s stock price dropped
   dramatically after PrimeRx’s launch. Id. ¶ 9.

          Defendants subsequently made representations in investor conference calls that
   Plaintiffs allege were materially misleading, particularly in that they failed to disclose
   that Amazon was planning to introduce a drug price comparison tool identical to
   GoodRx’s. Id. ¶ 64. When that tool launched in May 2021, GoodRx’s stock dropped to
   below its initial IPO price. Id.

          Plaintiffs bring suit against GoodRx, its directors, and the underwriters of
   GoodRx’s IPO for failing to disclose the material risk of competition from Amazon at the
   time of the IPO and for making materially false statements in the Registration Statement
   and in subsequent investor communications, therefore artificially inflating the price of
   GoodRx stock. See generally id.
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 3 of 9 Page ID #:2029

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                           Date: June 9, 2022

                                                                                          Page 3

          B.     Procedural History

          On May 6, 2021, Plaintiff Terenzini filed his complaint in this Court on behalf of a
   class (Dkt. 1). After consolidating cases, the Court appointed the Lead Plaintiffs to lead
   the class (Dkt. 65). Plaintiffs filed their Consolidated Complaint on June 7, 2021.

          The GoodRx Defendants filed a Motion to Dismiss on August 6, 2021. Defendants
   Morgan Stanley & Co. LLC, Goldman Sachs & Co. LLC, J.P. Morgan Securities LLC,
   Barclays Capital Inc., BofA Securities Inc., Citigroup Global Markets Inc., Credit Suisse
   Securities (USA) LLC, RBC Capital Markets, LLC, UBS Securities LLC, Cowen and
   Company, LLC, Deutsche Bank Securities Inc., Evercore Group L.L.C., Citizens Capital
   Markets, Inc., KKR Capital Markets LLC, LionTree Advisors LLC, Raymond James &
   Associates, Inc., SVB Leerink LLC, Academy Securities, Inc., Loop Capital Markets
   LLC, R. Seelaus & Co., LLC and Samuel A. Ramirez & Company, Inc. (collectively the
   “Underwriters”) joined the GoodRx Defendants’ Motion (Dkt. 89). On January 6, 2022,
   the Court granted the Defendants’ Motion to Dismiss with leave to amend (Dkt. 98).

          On February 7, 2022, Plaintiffs filed their FAC. The GoodRx Defendants filed a
   second Motion to Dismiss on March 10, 2022. The Underwriters joined the Motion on
   March 10, 2022 (Dkt. 108). Plaintiffs opposed the Motion (“Opp’n”) (Dkt. 110) on April
   14, 2022, and the GoodRx Defendants filed their Reply (Dkt. 111), joined by the
   Underwriters (Dkt. 112), on May 4, 2022.

   II.    Legal Standard

          Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be dismissed
   when a plaintiff’s allegations fail to set forth a set of facts that, if true, would entitle the
   complainant to relief. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009); Bell Atl. Corp. v.
   Twombly, 550 U.S. 544, 555 (2007) (holding that a claim must be facially plausible in
   order to survive a motion to dismiss). The pleadings must raise the right to relief beyond
   the speculative level; a plaintiff must provide “more than labels and conclusions, and a
   formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S.
   at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). On a motion to dismiss, a
   court accepts as true a plaintiff’s well-pleaded factual allegations and construes all factual
   inferences in the light most favorable to the plaintiff. See Manzarek v. St. Paul Fire &
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 4 of 9 Page ID #:2030

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                       Date: June 9, 2022

                                                                                      Page 4

   Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). A court is not required to accept as
   true legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678.

           In evaluating a Rule 12(b)(6) motion, review is ordinarily limited to the contents
   of the complaint and material properly submitted with the complaint. Van Buskirk v.
   Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002); Hal Roach Studios, Inc. v.
   Richard Feiner & Co., Inc., 896 F.2d 1542, 1555, n.19 (9th Cir. 1990). Under the
   incorporation by reference doctrine, the court may also consider documents “whose
   contents are alleged in a complaint and whose authenticity no party questions, but which
   are not physically attached to the pleading.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.
   1994), overruled on other grounds by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119,
   1121 (9th Cir. 2002). The court may treat such a document as “part of the complaint, and
   thus may assume that its contents are true for purposes of a motion to dismiss under Rule
   12(b)(6).” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

          When a motion to dismiss is granted, the court must decide whether to grant leave
   to amend. The Ninth Circuit has a liberal policy favoring amendments, and thus leave to
   amend should be freely granted. See, e.g., DeSoto v. Yellow Freight Sys., Inc., 957 F.2d
   655, 658 (9th Cir. 1992). However, a court need not grant leave to amend when
   permitting a plaintiff to amend would be an exercise in futility. See, e.g., Rutman Wine
   Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987) (“Denial of leave to
   amend is not an abuse of discretion where the pleadings before the court demonstrate that
   further amendment would be futile.”).

   III.   Discussion

          As in the first Motion to Dismiss, the GoodRx Defendants, joined by the
   Underwriters, argue that Plaintiffs’ Securities Act claim should be dismissed for lack of
   damages; that Plaintiffs have not sufficiently pled facts establishing the falsity of the
   challenged statements; and that Plaintiffs have not sufficiently pled facts evidencing
   scienter. The Court considers each argument in turn.

          A. False or misleading claims
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 5 of 9 Page ID #:2031

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                         Date: June 9, 2022

                                                                                         Page 5

           To state a claim under Section 10(b) of the Exchange Act, a plaintiff must allege
   facts showing (1) a material misrepresentation, (2) scienter, (3) a connection with the
   purchase or sale of security, (4) reliance, (5) economic loss, and (6) loss causation. Dura
   Pharms., Ins. v. Broudo, 544 U.S. 336, 341 (2005). Under the heightened pleading
   standards of the Private Securities Litigation Reform Act (“PSLRA”), a securities fraud
   complaint must identify each alleged misrepresentation, specify the reasons it is
   misleading, and state with particularity facts giving rise to a strong inference that the
   defendant who made the misrepresentation acted with fraudulent intent. Tellabs Inc. v.
   Makor Issues & Rights Ltd., 551 U.S. 308, 321 (2007).

       Plaintiffs’ initial complaint alleged that GoodRx and Underwriters violated Sections
   10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”) by failing to
   disclose information about the possibility of Amazon launching a competitor service in
   both registration materials and their statements after the launch of their IPO, resulting in
   an artificially inflated IPO. See generally FAC. The Court previously dismissed the case
   with leave to amend, ruling that the claims were not sufficiently pled because of the lack
   of facts establishing that GoodRx and the Underwriters were aware of Amazon’s plans to
   launch Amazon Pharmacy when GoodRx announced its IPO. See generally Order
   Granting Defendant’s Motion to Dismiss (“Order”) (Dkt. 98).

                 i. Pre- and post-IPO statements

       Plaintiffs’ FAC makes the same allegations, again asserting that GoodRx failed to
   disclose the material risk of Amazon entering the market as a competitor at the time of
   the IPO, and continued to misrepresent that risk to investors, thus artificially inflating the
   price of GoodRx stock. See generally FAC. Defendant GoodRx, joined by Underwriters,
   argues that Plaintiffs’ Amended Complaint fails to provide additional facts, meaning the
   complaint remains insufficiently pled, and the Court should again dismiss. Mot. at 9.

      In Plaintiffs’ first complaint, Plaintiffs challenged various statements made by
   GoodRx before and after their IPO launch about GoodRx’s market leadership and lack of
   competition, consumer demand for their services, and their unique business partnerships
   with PBMs. FAC ¶¶ 59-61. They argued that these statements were materially false and
   misleading given Amazon’s plans to launch Amazon Pharmacy, a business in the same
   industry. FAC ¶ 118. The Court previously ruled that Plaintiffs failed to allege facts
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 6 of 9 Page ID #:2032

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                                   Date: June 9, 2022

                                                                                                    Page 6

   proving that GoodRx’s statements were materially false, as there was no evidence that
   they knew of Amazon’s plans to enter the market. Order at 7-9:

          Plaintiffs allege no facts indicating that Defendants were aware of Amazon’s plans. This is the
          critical missing piece of the Complaint: Amazon’s existing plans are irrelevant if the Defendants
          did not know of them. While Plaintiffs allege that GoodRx “had access to inside information” and
          communicated with Amazon regularly due to its partnerships with Inside Rx and Amazon’s
          subsidiary PillPack, they do not allege how or when Defendants learned any insider information
          from those partnerships or what specific information they learned. See CC ¶¶ 6, 50-51. These
          missing allegations go against “Congress’s basic purpose in raising the bar [in the PSLRA] in the
          first place; namely, . . . to put an end to the practice of pleading fraud by hindsight.” Gompper v.
          VISX, Inc., 298 F.3d 893, 897 (9th Cir. 2002).

   Order at 8-9. The circumstantial evidence provided to imply that GoodRx and
   Underwriters had knowledge of Amazon’s plans was deemed insufficient to state a claim,
   and the Court dismissed the claim with leave to amend.

           The Court agrees that Plaintiffs’ Amended Complaint again fails to provide
   sufficient facts demonstrating that Defendants were aware of Amazon’s plans to launch a
   competitor service. Rather than provide new facts supporting their claim, Plaintiffs’
   Amended Complaint merely emphasizes claims made in their first complaint about the
   business relationship between Defendant GoodRx and Amazon as circumstantial
   evidence that Defendants knew that Amazon intended to enter the online pharmaceutical
   market. FAC ¶ 104. Had the Plaintiffs provided any direct evidence of GoodRx’s
   purported knowledge—such as correspondence between GoodRx and Amazon detailing
   Amazon’s plans, or private reports revealing details about Amazon Pharmacy ahead of its
   launch—their allegations may have approached the level of specificity needed for a claim
   to be considered sufficient. However, the lack of additional facts in the Amended
   Complaint again defeat Plaintiffs’ claims. Accordingly, the Court GRANTS Defendants’
   Motion as to the Section 10(b) claims and DISMISSES WITH PREJUDICE those claims.

           As in the Court’s previous ruling, the dismissal of all of Plaintiffs’ Section 10(b)
   claims negates the need to consider Defendants’ arguments regarding insufficient factual
   allegations of scienter under the Exchange Act. Mot. at 19-23. However, the Court agrees
   with Defendants that Plaintiffs’ allegations of scienter suffer from the same lack of facts
   as their 10(b) claims involving Defendants’ knowledge of Amazon’s plans, and thus
   appear to be insufficient for the same reasons. See Police Ret. Sys. of St. Louis v. Intuitive
   Surgical, Inc., 759 F.3d 1051, 1062 (9th Cir. 2014) (holding that facts supporting a “mere
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 7 of 9 Page ID #:2033

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                         Date: June 9, 2022

                                                                                        Page 7

   inference of [the defendants’] knowledge” did not support scienter). Accordingly, the
   Court GRANTS Defendants’ Motion as to the Exchange Act claims and DISMISSES
   WITH PREJUDICE those claims.

                 ii. Items 303 and 105 of Regulation S-K

           Under Item 303 of Regulation S-K, the registrant is under a duty to “[d]escribe
   any known trends or uncertainties that the registrant reasonably expects will have a
   material favorable or unfavorable impact on net sales or revenues or income from
   continuing operations.” 17 C.F.R. § 229.303(a)(3)(ii). As such, a plaintiff must allege
   facts showing defendants knew of an adverse trend, the material impact of that trend, and
   “that the future material impacts are reasonably likely to occur from the present-day
   perspective.” Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1297 (9th Cir. 1998)
   (emphasis omitted). “Regulation S-K thus governs the disclosure of known historic
   trends, but does not provide a basis of liability where a corporation fails to ‘disclose” the
   future.” In re Verifone Sec. Litig., 784 F. Supp. 1471, 1483 (N.D. Cal. 1992), aff’d, 11
   F.3d 865 (9th Cir. 1993) (citing In re Convergent Technologies Sec. Litig., 948 F.2d 507,
   516 (9th Cir. 1991)).

          The Court previously dismissed Plaintiffs’ first claim under Item 303, noting that
   “Without facts indicating concrete knowledge of Amazon’s plans, any lack of disclosure
   here would be merely a failure to ‘disclose the future.’” Order at 12. As established,
   Plaintiffs have again failed to allege facts sufficient to demonstrate that Defendants had
   knowledge of Amazon’s plans to launch Amazon Pharmacy, providing only
   circumstantial evidence regarding GoodRx’s business relationship with Amazon
   subsidiaries. FAC ¶ 72(b). Accordingly, the Court GRANTS the Motion as to Item 303,
   and Plaintiffs’ Item 303 claim is DISMISSED WITH PREJUDICE.

           Item 105 of Regulation S-K requires a “discussion of the material factors that
   make an investment in the registrant or offering speculative or risky.” 17 C.F.R.
   § 229.105. The Court previously dismissed Plaintiffs’ Item 105 claim, explaining that
   Plaintiffs failed to sufficiently allege facts demonstrating Defendants’ knowledge of the
   risk of Amazon entering the market. Order at 13. For the same reason as earlier claims,
   Plaintiffs’ Item 105 claim also fails due to the lack of facts supporting the allegation that
   Defendants had concrete knowledge about the risk of Amazon’s plans to launch Amazon
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 8 of 9 Page ID #:2034

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                        Date: June 9, 2022

                                                                                        Page 8

   Pharmacy. As such, the Court GRANTS the Motion as to Item 105, and Plaintiffs’ Item
   105 claim is DISMISSED WITH PREJUDICE.

          B. Securities Act damages

           Section 11 of the Securities Act creates a private remedy for any purchaser of a
   security if any part of the registration statement, “when such part became effective,
   contained an untrue statement of a material fact or omitted to state a material fact
   required to be stated therein or necessary to make the statements therein not misleading.”
   15 U.S.C. § 77k(a). Under 15 U.S.C. § 77k(e), such a purchaser may recover damages for
   losses “measured by the difference between the amount paid for the security and its price
   at either the time it was sold or the date the Section 11 claim was filed.” Miller v. Pezzani
   (In re Worlds of Wonder Sec. Litig.), 35 F.3d 1407, 1421 (9th Cir.1994). While damages
   are not an element of a Section 11 claim, lack of damages is an affirmative defense. Id. at
   1421-22; In re Countrywide Fin. Corp. Sec. Litig., 588 F. Supp. 2d 1132, 1168-69 (C.D.
   Cal. 2008).

           Plaintiffs’ Amended Complaint renews assertions that GoodRx’s IPO stock price
   did not represent its true “value” as a basis for damages, again relying on an unpublished
   district court case as their only support for such a calculation. Opp’n at 8 (quoting In re
   Snap Inc. Sec. Litig., 2018 WL 2972528, at *9 (C.D. Cal. June 7, 2018)). The Court
   previously dismissed Plaintiff’s identical claim from their first complaint, stating that the
   statute’s language is clear that the starting point for damages is the price that Plaintiffs
   actually paid for the stocks, capped at the IPO price, meaning $33/share. Given that
   Plaintiffs’ Amended Complaint lacks any new legal arguments or facts supporting this
   framework, the Court agrees with the Defendants that this theory of calculation of
   damages is unpersuasive and out of line with the plain language of the statute. 15 U.S.C.
   § 77k(e). As such, there is no evidence of loss to the Plaintiffs, so the Court GRANTS the
   Motion as to Section 11, and Plaintiffs’ Section 11 claims are DISMISSED WITH
   PREJUDICE.

          C. Individual Defendants’ liability as control persons

          Section 20(a) of the Exchange Act makes “controlling” persons liable for
   violations of § 10(b). 15 U.S.C. § 78t(a). “Section 20(a) claims may be dismissed
   summarily, however, if a plaintiff fails to adequately plead a primary violation of section
Case 2:20-cv-11444-DOC-MAR Document 115 Filed 06/09/22 Page 9 of 9 Page ID #:2035

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

    Case No. LA CV 20-11444-DOC-MAR                                       Date: June 9, 2022

                                                                                        Page 9

   10(b).” Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 990 (9th Cir. 2009), as
   amended (Feb. 10, 2009). Similarly, § 15 of the Securities Act makes control persons
   liable for violations of § 11. The Court previously dismissed Plaintiffs’ § 20(a) and § 15
   claims because Plaintiffs’ § 10(b) and § 11 claims were insufficiently pled. Given that the
   claims are identical in Plaintiffs’ Amended Complaint, the Court DISMISSES WITH
   PREJUDICE Plaintiffs’ § 20(a) and § 15 claims.

          Given the lack of additional facts to support the assertions in Plaintiffs’ Amended
   Complaint, Plaintiffs’ claims are again insufficiently pled. As Plaintiffs were given leave
   to amend and failed to include sufficient facts in their Amended Complaint, further
   opportunity to amend would be “an exercise in futility.” See, e.g., Rutman Wine Co., 829
   F.2d at 738. Accordingly, the Court DISMISSES WITH PREJUDICE Plaintiffs’ claims
   under Section 11 of the Securities Act, Sections 10(b) and 20(a) of the Exchange Act, and
   Items 303 and 105 of Regulation S-K.

   IV.    Disposition

          For the reasons set forth above, the Court GRANTS the GoodRx Defendants’
   Motion to Dismiss and GRANTS the Underwriters’ Motion to Dismiss. The Court
   DISMISSES WITH PREJUDICE Plaintiffs’ claims under § 10(b) and § 20(a) of the
   Exchange Act and Rule 10b-5, § 11 and § 15 of the Securities Act, and Items 303 and
   105 of Regulation S-K. The Court VACATES the hearing scheduled for June 10, 2022.

          The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                                   Initials of Deputy Clerk: kdu

    CIVIL-GEN
